
HOOD, Judge.
This is a companion case to suits entitled Marie Ruby Richard Begnaud et al. v. Texas and New Orleans Railroad Com*131pany et al., 136 So.2d 123, and Pelican Creamery et al. v. Texas and New Orleans Railroad Company et al., 136 So.2d 131, all of which cases were consolidated for the purposes of trial and appeal.
The facts and the issues presented in this case were fully set forth and discussed in the opinion which is being rendered today in the Begnaud case. For the reasons set out in that opinion, therefore, the judgment of the district court in the instant suit is affirmed. All costs of this appeal are assessed to defendants-appellants.
Affirmed.
On Application for Rehearing.
En Banc. Rehearing denied.
